986 F.2d 1413
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jeffrey C. GAFFNEY, Plaintiff-Appellant,v.Doctor JUDGES, Doctor at Perry Correctional Institution,being sued in his official and individual capacities;Parker Evatt, Commissioner of the South Carolina Departmentof Corrections, being sued in his official and individualcapacities, Defendants-Appellees.
    No. 92-6962.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  February 1, 1993Decided:  February 22, 1993
    
      Appeal from the United States District Court for the District of South Carolina, at Greenwood.  Joseph F. Anderson, Jr., District Judge.  (CA-91-525-8-17)
      Jeffrey C. Gaffney, Appellant Pro Se.
      Ashby Winton Davis, LOVE, THORNTON, ARNOLD &amp; THOMASON, Greenville, South Carolina; Barbara Murcier Bowens, SOUTH CAROLINA DEPARTMENT OF CORRECTIONS, Columbia, South Carolina, for Appellees.
      Before HALL and PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Jeffrey C. Gaffney appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Gaffney v. Judges, No. CA-91-525-8-17 (D.S.C. Aug. 13, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    